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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                    Criminal No. 11-305(15)(DSD/LIB)
                      Criminal No. 12-223(DSD/LIB)

United States of America,

                   Plaintiff,

v.                                                                ORDER

Veronique ZsaZsa Antique Muckle,

                   Defendant.



     Allen A. Slaughter, United States Attorney’s Office, 316 North
     Robert Street, Suite 404, St. Paul, MN 55415, counsel for
     plaintiff.

     Veronique Muckle, #16068-041, FCI Aliceville, P.O. Box 4000,
     Aliceville, Al 35442, defendant pro se.



     This matter is before the court upon the pro se motions1 by

defendant Veronique ZsaZsa Antique Muckle to vacate, set aside, or

correct her sentence under 28 U.S.C. § 2255.             Based on a review of

the file, record, and proceedings herein, and for the following

reasons, the court denies the motions.



                                  BACKGROUND

     On   August    6,   2012,    Muckle   was   sentenced        to   52   months’

imprisonment for Conspiracy to Distribute Oxycodone, Oxymorphone,

and Heroin, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C), and

     1
         Muckle filed identical § 2255 motions challenging her
sentences for witness retaliation in case number 12-CR-223(DSD/LIB)
and drug conspiracy in case number 11-CR-305(15)(DSD/LIB).
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846.      On April 12, 2013, a jury convicted Muckle of Witness

Retaliation, in violation of 18 U.S.C. § 1513(b)(1), and on July

23, 2013, the court sentenced her to 121 months’ imprisonment to be

served consecutively to the 52-month drug conspiracy sentence.

Muckle appealed her sentence for witness retaliation, and the

Eighth Circuit Court of Appeals affirmed.               On December 23, 2014,

Muckle filed a motion to reduce her drug conspiracy sentence, which

the court denied on February 5, 2016.             Muckle now moves to vacate,

set    aside,   or   correct   both    her   drug    conspiracy     and   witness

retaliation sentences.



                                    DISCUSSION

I. Johnson

       Muckle argues that her sentence is unconstitutional in light

of Johnson v. United States, 135 S. Ct. 2551 (2015).                   The court

finds, however, that Johnson is inapplicable to Muckle’s sentences.

In Johnson, the Supreme Court struck down the residual clause of

the Armed Career Criminal Act (ACCA), 18 U.S.C. § 924(e)(2)(B)(ii),

as unconstitutionally vague. Muckle’s sentences, however, were not

based on the unconstitutional residual clause of the ACCA. Indeed,

they were not calculated pursuant to any residual clause. Muckle’s

sentence for drug conspiracy was calculated based on the total

quantity of drugs involved in the offense under U.S.S.G. § 2D1.1.

Likewise, her sentence for witness retaliation was calculated based


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on U.S.S.G. §§ 2J1.2(a), (c) and          2X3.1.    Therefore, Johnson is

irrelevant to Muckle’s sentences and does not provide a basis for

relief.

II. Certificate of Appealability

     To warrant a certificate of appealability, a defendant must

make a “substantial showing of the denial of a constitutional

right” as required by 28 U.S.C. § 2253(c)(2).                   A “substantial

showing”   requires   a   petitioner     to   establish    that    “reasonable

jurists” would find the court’s assessment of the constitutional

claims “debatable or wrong.”         Slack v. McDaniel, 529 U.S. 473,

483–84 (2000). The court is firmly convinced that Johnson does not

apply to Muckle’s sentences and that reasonable jurists could not

differ on the result.     As a result, a certificate of appealability

is not warranted.



                                 CONCLUSION

     Accordingly, IT IS HEREBY ORDERED that:

     1. Defendant’s motion to vacate her sentence in case number

11-CR-305(15)[ECF No. 1347] is denied;

     2. Defendant’s motion to vacate her sentence in case number

12-CR-223 [ECF No. 134] is denied; and




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     3.   Pursuant   to   28   U.S.C.   §    2253,   the   court    denies   a

certificate of appealability.

LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: October 18, 2016.


                                        s/David S. Doty
                                        David S. Doty, Judge
                                        United States District Court




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